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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY FILED
DOE #:

DATE FiLep:AFR 07-2019

 

 

Andrea Brannon,
Plaintiff,
14-cv-2849 (AJN)

—_V-

ORDER
City of New York, ef al.,

Defendants.

 

 

ALISON J. NATHAN, District Judge:

The Court received the attached communication via email from the administrator of
Plaintiffs estate. The Court sees no reason why this communication cannot be docketed, but
will allow the Administrator one week to respond with any objections to filing this
communication on the docket, and the reason for those objections. Ifthe Administrator does not
respond to this order by April 15, 2015, both the communication and this order shall be placed
on the docket.

If the Administrator wishes to file any matters under seal, he may request that matters be
sealed pursuant to the Court’s Individual Rule of Practice 4.A, and provide justification for such
sealing as instructed in that rule. Defense counsel must be copied on any such communication
with the Court, unless good cause exists for ex parte communication, in which case the

Administrator shall explain the appropriateness of ex parte communication in his filing.

SO ORDERED.
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New York, New York

Dated: April } , 2015 |

 

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\/ NU ALISON J. NATHAN

United States District Judge
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Brannon v. City of New York, 14-CV-2849

 

Jon to: NathanNYSDChambers 04/06/2015 04:26 PM
From: Jon <jon@professional-troublemaker.com>
To: NathanNYSDChambers@nysd.uscourts.gov

Hello,

I'll be filing a motion for substitution of parties in Brannon v. City
of New York. Judge Nathan's individual rules (4.A) require
communicating with chambers before filing a redacted/under seal
document. I'd like to attach to my motion an under seal exhibit
containing the Plaintiff's death certificate, which contains information
that is redactable under Fed. R. Civ. P., Rule 5.2(a), and is otherwise
appropriate for redaction because it contains sensitive information of
which the family would like to limit dissemination.

Please advise if I have the Court's approval to file this document under
seal.

Thank you,
Jonathan Corbett

Administrator
Estate of Andrea Brannon
